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                                   STATEMENT OF FACTS

        On Sunday, June 28, 2020, at approximately 4:00 a.m., members of the Metropolitan
Police Department (MPD) 5th District responded to the 1200 block of Raum Street, NE in
Washington, D.C. in response to a Shotspotter report for sounds of gunshots. Officers located
several spent shell casings on the street. There were no victims on scene and no visible property
damage. The 1200 block of Raum Street, NE is a residential street and there were cars parked on
both sides of the street.

        The officers began to block off the area with crime scene tape and canvass for additional
shell casings or other evidence. As they did so, Officer Paster and Officer Owens noticed a
black male, later identified as the defendant Decordre Chiles (Defendant Chiles) slumped over in
the driver’s seat of a blue 2000 Ford Mustang vehicle that was parked on the block. Defendant
Chiles was the only occupant of the vehicle, which was later determined to be registered to
someone else. The officers began to tap on the windows of the vehicle and call out to Defendant
Chiles in order to check on his safety. As they did so, Defendant Chiles moved a little in the seat
and began to wake up. Officer Paster then noticed a firearm on Defendant Chiles’s lap, with the
barrel facing out toward the street. The officers gave the defendant loud verbal commands to
open the windows and show his hands. Defendant Chiles did not open the windows and he
attempted to put the vehicle in drive. Officers then shattered the driver’s side window and
Officer Owens removed the firearm from the defendant’s lap and handed it to Officer Graves.
The defendant was placed under arrest.

        The firearm recovered was determined to be a Heckler & Koch (H&K) .9mm semi-
automatic handgun with serial number 232-037598. When it was recovered, it was loaded with
one (1) round in the chamber and eight (8) rounds in the fifteen-round capacity magazine. There
are no firearm or ammunition manufacturers in the District of Columbia. Therefore, the firearm
and ammunition in this case would have traveled in interstate commerce prior to being recovered
in the District of Columbia.

         A criminal history check of Defendant Chiles through the National Crime Information
Center (NCIC) confirmed that the defendant has a prior felony conviction in the Seventh Judicial
Circuit Court for Prince George’s County, Maryland, docket number T131057B, for Robbery.
The defendant was sentenced to 15 years of confinement with 13 years suspended for this
offense on January 10, 2014. Therefore, the defendant would have been aware at the time of his
arrest in this case that he had a previous conviction for a crime punishable by more than one
year.

                                             _________________________________
                                             OFFICER DYMONE GRAVES
                                             METROPOLITAN POLICE DEPARTMENT

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 29th day of June, 2020.

                                                     ___________________________________
                                                     ROBIN M. MERIWEATHER
                                                     U.S. MAGISTRATE JUDGE
